Case 3:21-ap-03001-MFW          Doc 33-1 Filed 02/02/22 Entered 02/02/22 19:25:05               Desc
                                 Proposed Order Page 1 of 2



                         THE UNITED STATES DISTRICT COURT
                        FOR THE UNITED STATES VIRGIN ISLANDS
                                BANKRUPTCY DIVISION

 In re:                                         )
                                                )   Bankruptcy No. 06-30009
 JEFFREY J. PROSSER,                            )   Chapter 7
                                                )
          Debtor.                               )
                                                )
                                                )
 OAKLAND BENTA, JEFFREY J.                      )
 PROSSER, AND DAWN E. PROSSER,                  )
                                                )   Adv. Pro. No. 3:21-ap-03001-MFW
          Plaintiffs,                           )
 v.                                             )
                                                )
 CHRISTIE’S INC., CHARLES ANTIN,                )
 FOX ROTHSCHILD LLP, YANN                       )
 GERON, WILLIAM H. STASSEN,                     )
 DAVID M. NISSMAN, JAMES P.                     )
 CARROLL                                        )
                                                )
          Defendants.                           )
                                                )

 ORDER ON STIPULATION ON PLAINTIFFS’ REQUEST TO EXTEND THE TIME TO
      FILE THEIR OPPOSITIONTO DEFENDANTS’ MOTION TO DISMISS

          Upon the Stipulation on Plaintiffs’ request to extend the time to file their opposition to

 Defendants’ Motion to Dismiss, and good cause appearing therefor; it is hereby

          ORDERED that the date for plaintiffs to file their opposition memorandum, if any, to

 defendants’ Motion to Dismiss shall be extended from February 3, 2022 to February 17, 2022;

 that Plaintiffs shall not raise any arguments in the opposition memorandum, nor any other

 memorandum, regarding the form of the Motion to Dismiss or whether it is in conformity with

 the Federal or Local Rules of Bankruptcy Procedure, while retaining the right to challenge the

 substance of the Motion to Dismiss; and that Defendants’ date to file their Reply Memorandum,
Case 3:21-ap-03001-MFW          Doc 33-1 Filed 02/02/22 Entered 02/02/22 19:25:05          Desc
                                 Proposed Order Page 2 of 2



 if any, in response to Plaintiffs’ brief in opposition to the Defendants’ Motion to Dismiss be

 extended to 60 days following Plaintiff’s filing of their opposition brief.

 Dated: January 31, 2022

                                                       ____________________________________
                                                       HON. MARY F. WALRATH, USBJ




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